Laine C. Barnard, #19467
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Department of Corrections
714 SW Jackson #300
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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


CHRISTOPHER ADAM ERWIN              )
              Plaintiff,            )
                                    )
vs.                                 )
                                    )                Case No. 22-CV-3170-JWL
                                    )
                                    )
JEFF ZMUDA, et al.                  )
                   Defendants.      )
___________________________________ )


          MOTION FOR EXTENSION OF TIME TO FILE MARTINEZ REPORT


     COMES NOW, the Kansas Department of Corrections (KDOC) as an interested party,

through Counsel Laine C. Barnard, and moves this Court for an order extending the time to file

the Martinez Report ordered by the Court in this matter. In support of this motion, KDOC states

as follows:

   1. The Court ordered the Kansas Department of Corrections (KDOC) to submit a Martinez

       Report by April 10, 2023, to assist the Court in the proper processing of Plaintiff’s claim.

   2. Plaintiff’s claims involve two contracted service providers, Aramark, who provides

       KDOC’s food service and Centurion, who provides medical services for KDOC.             Both
       Aramark and Centurion have corporate, in-house legal counsel, requiring more time to

       adequately collaborate to produce the most through information for the Court.

   3. Preparation of the Martinez report additionally requires the review of over 1200 pages of

       Plaintiff’s medical records.

   4. Counsel is requesting a sixty-day extension to June 9, 2023, to complete the Martinez

       Report in this matter. The interest of justice will be served by granting this extension in

       that counsel will be able to provide meaningful information to the Court to assist in the

       resolution of the cause.

   5. Counsel has not consulted with plaintiff pro se before filing this motion.

       WHEREFORE, KDOC respectfully requests a sixty (60) extension, or until June 9,

2023, to file the Martinez report ordered in this cause.




                                                      /s Laine C. Barnard
                                                      Laine C. Barnard, #19467
                                                      Legal Counsel
                                                      Department of Corrections
                                                      714 SW Jackson #300
                                                      Topeka, Kansas 66603
                                                      (785) 600-0698
                                                      Laine.Barnard@ks.gov
                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 7th day of April 2023, I electronically filed the foregoing with
the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic filing
to the following:

Kansas Attorney General
120 SW 10th Ave., #2
Topeka, KS 66612

       I hereby certify that a true and correct copy of the foregoing was sent via intra facility
mail on this 7th day of April 2023 to:

Christopher Adam Erwin, #123078
EDCF
P.O. Box 311
El Dorado, Kansas 67042

                                              /s Laine C. Barnard
                                              Laine C. Barnard, SC #19467
